  Case 6:18-cv-00566-JA-DCI Document 16 Filed 01/29/19 Page 1 of 1 PageID 68




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

 LINDA GORDON

           Plaintiff,

 v.                                                    CASE NO.: 6:18-cv-00566-JA-DCI

 NORTHLAND GROUP, LLC

           Defendant.

                              NOTICE OF PENDING SETTLEMENT

          PLAINTIFF, LINDA GORDON, by and through her undersigned counsel, hereby submits this

Notice of Pending Settlement and states that Plaintiff, LINDA GORDON, and Defendant, NORTHLAND

GROUP, LLC have reached a settlement with regard to this case and are presently drafting, finalizing, and

executing the settlement and dismissal documents. Upon execution of same, the parties will file the

appropriate dismissal documents with the Court.


                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that, on this 29th day of January, 2019, a true and correct copy of the

foregoing was filed with the Clerk of the Court and served on the parties of record using the CM/ECF

system.

                                                    Respectfully submitted,

                                                  /s/Heather H. Jones
                                                  Heather H. Jones, Esq.
                                                  Florida Bar No. 0118974
                                                  William “Billy” Peerce Howard, Esq.
                                                  Florida Bar No. 0103330
                                                  THE CONSUMER PROTECTION FIRM, PLLC
                                                  4030 Henderson Blvd.
                                                  Tampa, FL 33629
                                                  Telephone: (813) 500-1500, ext. 205
                                                  Facsimile: (813) 435-2369
                                                  Heather@TheConsumerProtectionFirm.com
                                                  Billy@TheConsumerProtectionFirm.com
                                                  Attorney for Plaintiff
